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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA,

        Plaintiff,

                v.
                                                   Case No. 2:22-cv-05209-GJP
 AMERISOURCEBERGEN CORPORATION;
 AMERISOURCEBERGEN DRUG
 CORPORATION; and INTEGRATED
 COMMERCIALIZATION SOLUTIONS, LLC,

        Defendants.


                                ENTRY OF APPEARANCE
TO THE CLERK OF COURT:

       Kindly enter the appearance of Robert A. Nicholas as counsel for Defendants

AmerisourceBergen Corporation (n/k/a Cencora, Inc.), AmerisourceBergen Drug Corporation,

and Integrated Commercialization Solutions, LLC in the above-captioned matter.


December 5, 2023
                                               Respectfully submitted,

                                               /s/ Robert A. Nicholas
                                               Robert A. Nicholas
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                                               Counsel for Defendants AmerisourceBergen
                                               Corporation (n/k/a Cencora, Inc.),
                                               AmerisourceBergen Drug Corporation, and
                                               Integrated Commercialization Solutions, LLC
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 5, 2023, I served a true and correct copy of the foregoing

Entry of Appearance upon all counsel of record via the Court’s CM/ECF electronic filing system.



                                                 /s/ Robert A. Nicholas
                                                 Robert A. Nicholas
